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                   UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                         BRUNSWICK DIVISION




UNITED STATES OF AMERICA,
                    Plaintiff,

          V.

                                          Civil Action No. 2:16-cv-00112
HONEYWELL INTERNATIONAL INC.
and GEORGIA POWER COMPANY,
                    Defendants.




   CONSENT DECREE FOR REMEDIAL DESIGN AND REMEDIAL ACTION AT
      OPERABLE UNIT ONE OF THE LCP CHEMICALS SUPERFUND SITE
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